                                                                                              EMIL BOVE
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                                                    October 27, 2023

Via ECF and Email
Honorable Analisa Torres
U.S. District Judge
Southern District of New York

       Re:    United States v. Yanping Wang, et al., No. 23 Cr. 118 (AT)

Dear Judge Torres:

       I write on behalf of Yanping Wang in response to the Court’s October 19, 2023 Order. Ms.
Wang has reviewed the Order, discussed the Order with me, and discussed the Order with Court-
appointed Curcio counsel, Mr. Louis Fasulo. Based on her review and those conversations, Ms.
Wang has decided not to enter a waiver with the scope that would be required by the discussion at
pages 12 and 13 of the Order. Therefore, I respectfully request that the Court permit me to
withdraw as counsel, and that the Court cancel the Curcio hearing currently scheduled for October
30, 2023. I understand that new counsel for Ms. Wang will be entering a notice of appearance in
due course.

                                                    Respectfully Submitted,

                                                    /s/ Emil Bove
                                                    Emil Bove
                                                    Blanche Law PLLC

Cc:    Counsel of Record
       (Via ECF)

       Louis V. Fasulo
       (Via Email)
